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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 POWER HOME SOLAR LLC,

          Plaintiff,                       Case No. 1:21−cv−910

     v.                                    Hon. Jane M. Beckering

 ORBIT MARKETING LLC, et al.,

          Defendants.
                                       /


                       NOTICE OF HEARING CANCELLATION


         The Rule 16 scheduling conference by telephone set in this matter for
 July 7, 2022 is hereby adjourned without date.      The deadline to file the
 joint status report is also adjourned without date.


                                       JANE M. BECKERING
                                       United States District Judge

 Dated: June 22, 2022            By:    /s/ Rick M. Wolters
                                       Case Manager
